              Exhibit 4



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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TENNESSEE
                             WINCHESTER DIVISION

SYMANTHA REED, CHARLES GOETZ,          )
JAMES SPAULDING, WENDY WHARTON, )
GARY CRAWFORD and                      )
ROBBIE JOHNSON,                        )
                                       )
      Plaintiffs,                      )
                                       )
v.                                     )        Civil Action No. ________________
                                       )
TYSON FOODS, INC.,                     )
                                       )
      Defendant.                       )
______________________________________________________________________________

                  DECLARATION OF J. GREGORY GRISHAM
______________________________________________________________________________

       I, J. Gregory Grisham, declare and state the following:

       1.      I am over the age of 21 and give this Declaration of my own personal knowledge.

       2.      I am counsel for Tyson Foods, Inc. in the present action.

       3.      Tyson Foods, Inc., is a Delaware Corporation and its principal place of business is

in Springdale, Arkansas. Attached to this Declaration as Exhibit 1 is a copy of the Entity Details

from the State of Delaware pertaining to Tyson Foods, Inc.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       Executed on this the 22nd day of November 2023.




                                                    J. Gregory Grisham




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    Exhibit 1 to Declaration of J. Gregory Grisham




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